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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

_________________________________________
                                     :
MARTIN J. WALSH, SECRETARY OF LABOR, :
UNITED STATES DEPARTMENT OF LABOR, :
                                     :
                   Plaintiff,        :
                                     :
          v.                         : Civil Action No. _______
                                     :
LA TOLTECA WILKES BARRE, INC. d/b/a  :
LA TOLTECA AUTHENTIC MEXICAN         : JURY TRIAL DEMANDED
RESTAURANT and CARLOS DE LEON        :
                                     :
                   Defendants.       :
                                     :

                                  COMPLAINT

      Plaintiff, Martin J. Walsh, Secretary of Labor, United States Department of

Labor (“Plaintiff”) brings this action to enjoin La Tolteca Wilkes Barre, Inc., doing

business as La Tolteca Authentic Mexican Restaurant, and Carlos De Leon

(hereinafter collectively referred to as “Defendants,”) from violating the provisions

of Sections 6, 7, 11(c), 15(a)(2) and 15(a)(5) of the Fair Labor Standards Act of

1938, as amended (hereinafter referred to as the “FLSA” or the “Act”), 29 U.S.C.

§§ 206, 207, 211(c), 215(a)(2), and 215(a)(5), and for a judgment against

Defendants in the total amount of back wage compensation found by the Court to

be due to any of the employees of Defendants pursuant to the Act and for an equal

amount due to the employees of Defendants in liquidated damages.
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      1.      Jurisdiction of this action is conferred upon the Court by Section 17 of

the Act, 29 U.S.C. § 217, and by 28 U.S.C. §§ 1331 and 1345.

      2.      Defendant La Tolteca Wilkes Barre, Inc., doing business as La

Tolteca Authentic Mexican Restaurant (“La Tolteca”), is a corporation duly

organized under the laws of the Commonwealth of Pennsylvania, having its

registered office at 200 Mundy Street, Wilkes-Barre, PA 18702. Defendant La

Tolteca is engaged in full-service restaurants and bars at 200 Mundy Street,

Wilkes-Barre, PA, and at 400 Commerce Boulevard, Stroudsburg, PA 18360,

within the jurisdiction of this court.

      3.      Defendant Carlos De Leon is vice president and part owner (25%

ownership interest) of La Tolteca and resides in Mountain Top, PA, which is

within the jurisdiction of this Court. De Leon has directed employment practices

and has acted directly or indirectly in the interest of La Tolteca in relation to its

employees at all times relevant herein, including hiring and firing employees, and

setting employees’ pay rates. De Leon is responsible for creating and

implementing policies affecting employees. Defendant De Leon regulated the

employment of persons employed by La Tolteca, acted directly and indirectly in

company’s interest in relation to the employees, and is an employer of said

employees within the meaning of Section 3(d) of the Act, 29 U.S.C. § 203(d).




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      4.      Defendants’ business activities, as described herein, are and were

related and performed through unified operation or common control for a common

business purpose and constitute an enterprise within the meaning of Section 3(r) of

the Act.

      5.      Defendants have employed and are employing employees in and

about their place of business in the activities of an enterprise engaged in commerce

or in the production of goods for commerce, including employees handling,

selling, or otherwise working on products, goods or materials that have been

moved in or produced for commerce, such as restaurant supplies and alcohol. The

enterprise has had an annual gross volume of sales made or business done in an

amount not less than $500,000.00. Therefore, the employees are employed in an

enterprise engaged in commerce or in the production of goods for commerce

within the meaning of Section 3(s)(1)(A) of the Act, 29 U.S.C. § 203(s)(1)(A).

      6.      Defendants willfully violated the provisions of Sections 6 and

15(a)(2) of the Act, 29 U.S.C. §§ 206 and 215(a)(2), by paying many of their

tipped employees employed as servers and bartenders in an enterprise engaged in

commerce or in the production of goods for commerce at rates less than the

applicable statutory minimum rate prescribed in Section 6 of the Act. Therefore,

Defendants are liable for the payment of unpaid minimum wages and an equal




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amount in liquidated damages under Sections 16(c) and 17 of the Act, 29 U.S.C.

§§ 216(c) and 217.

      7.      Defendants should also be enjoined under Section 17 of the Act, 29

U.S.C. § 217, from violating the minimum wage provisions of the Act.

      8.      During the time period from at least February 28, 2016, through at

least January 31, 2021, Defendants paid servers hourly rates ranging from $3.00 to

$3.50 per hour, and claimed a tip credit for the difference between the minimum

wage of $7.25 per hour and the cash wage paid per hour.

      9.      During the time period from at least February 28, 2016, through at

least January 31, 2021, Defendants paid bartenders hourly rates of about $6.00 per

hour, and claimed a tip credit for the difference between the minimum wage of

$7.25 per hour and the cash wage of $6.00 per hour.

      10.     At the end of each shift, Defendants required their servers and

bartenders to surrender a portion of their tips to Defendants.

      11.     The money seized from servers’ daily tips was collected by

management and was not used in furtherance of a valid tip pool.

      12.     Defendants also failed to properly inform tipped employees of their

intention to claim a tip credit under Sections 3(m) and 6 of the Act, 29 U.S.C. §§

203(m) and 206, and 29 C.F.R. § 531.59(b).




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       13.     Because Defendants paid servers $3.00 to $3.50 per hour, and

bartenders about $6.00 per hour, and cannot claim the tip credit for the reasons

described above, Defendants failed to pay their employees the $7.25 minimum

wage required by the FLSA.

       14.     Defendants’ unauthorized use of an employee’s tips is a deduction

from the wages paid to employees and must be returned to them under Section 6 of

the Act, 29 U.S.C. § 206, and as prescribed under 29 C.F.R. § 531.59(b).

       15.     Defendants’ practice of seizing a portion from the tipped employees’

tips also willfully violated Section 3(m)(2)(B) of the Act, 29 U.S.C. §

203(m)(2)(B), which states that “[a]n employer may not keep tips received by its

employees for any purposes, including allowing managers or supervisors to keep

any portion of employees’ tips, regardless of whether or not the employer takes a

tip credit.”

       16.     Pursuant to Section 16(c), 29 U.S.C. § 216(c), Defendants are liable

for the amount of any tip credit taken as well as all tips they unlawfully kept, and

an additional equal amount as liquidated damages.

       17.     Defendants willfully violated the provisions of Sections 7 and

15(a)(2) of the Act, 29 U.S.C. §§207 and 215(a)(2), by employing many of their

kitchen employees in an enterprise engaged in commerce or in the production of

goods for commerce for workweeks longer that those prescribed in Section 7 of the


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Act without compensating the employees for their employment in excess of the

prescribed hours at rates not less than one and one-half times the regular rates at

which they were employed. Therefore, said Defendants are liable for the payment

of unpaid overtime compensation under Sections 16(c) and 17 of the Act.

      18.    Defendants should also be enjoined under Section 17 of the Act, 29

U.S.C. § 217, from violating the overtime provisions of the Act.

      19.    For example, during the time period from at least February 28, 2016

through at least October 1, 2017, Defendants failed to pay kitchen employees the

overtime premium of one and one half times the regular rate for hours worked in

excess of 40 hours in a workweek. These kitchen employees regularly worked

approximately 15 to 27 overtime hours per workweek. The kitchen employees

prepared food according to customer orders and at the beginning of each day, did

not possess advanced culinary degrees and did not hire or fire employees.

Defendants paid these employees a fixed weekly salary with no overtime premium.

Defendants, who have been in the restaurant business for years, knew or recklessly

disregarded the fact that these kitchen employees should have been paid overtime.

      20.    Further, during the time period from at least January 30, 2017 through

at least September 10, 2017, at least one cook received a monthly performance

bonus from Defendants. The bonus was based on restaurant sales and regularly

paid every month. This cook regularly worked between approximately 50 and 60


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total hours per workweek. However, Defendants did not include the bonus

amounts when calculating the regular rate on which to base the overtime premium

due for hours worked in excess of 40 in a workweek. Thus, Defendants did not

pay the required overtime premium for hours over 40.

      21.    Defendants willfully violated the provisions of Sections 11(c) and

15(a)(5) of the Act, 29 U.S.C. §§ 211(c) and 215(a)(5), in that they failed to make,

keep, and preserve adequate and accurate records of many of their employees and

of the wages, hours, and other conditions of employment which they maintained as

prescribed by the regulations issued and found at 29 C.F.R. Part 516.

      22.    In violation of 29 C.F.R. § 516.2(a)(7), Defendants failed to maintain

time records for kitchen employees including: the number of hours worked each

workday, and the total amount of hours these employees worked each workweek.

      23.    Defendants also failed to maintain adequate time records for many

servers, bartenders, and other front of the house employees as they recorded

haphazardly the hours worked in tally sheets.

      24.    Further, Defendants kept some workers off the payroll records for

certain pay periods.

      25.    Defendants also failed to record the tips received by some tipped

employees, the amount of tips collected from tipped employees, and the amount of




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tips management kept from servers, bartenders and other tipped employees in

violation of 29 C.F.R. § 516.28(a).

      26.    Defendants were aware of the tip credit and the requirements for

claiming the tip credit because they claimed the tip credit for their servers and

bartenders, yet Defendants recklessly disregarded the tip credit’s requirements by

failing to provide adequate notice, failing to record tips received by the servers,

and by keeping tips received by tipped employees.

      27.    Further, in 2012, the Wage and Hour Division investigated

Defendants and notified Defendants that their failure to maintain employee time

records violated the FLSA. Despite the prior investigation, Defendants recklessly

disregard the recordkeeping requirements of the Act by their continuing failure to

maintain adequate pay and time records.

      28.    Additionally, Defendants willfully destroyed evidence of their

violations by throwing away tip-related records during the Wage and Hour

Division investigation that preceded the filing of this Complaint.




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      WHEREFORE, cause having been shown, the Secretary prays for judgment

against Defendants:

      (1)    For an injunction issued pursuant to Section 17 of the Act, 29 U.S.C.

§ 217, permanently enjoining and restraining Defendants, their officers, agents,

servants, employees, and those persons in active concert or participation with

Defendants who receive actual notice of any such judgment, from violating the

provisions of Sections 6, 7, 11(c), 15(a)(2) and 15(a)(5) of the Act, 29 U.S.C. §§

206, 207, 211(c), 215(a)(2), and 215(a)(5);

      (2)    For judgment pursuant to Section 16(c) of the Act, 29 U.S.C. §

216(c), finding Defendants liable for unpaid minimum wage and overtime

compensation, as well as the sum of any tip credit taken and all tips unlawfully

kept, due to certain of Defendants’ current and former employees listed in the

attached Schedule A for the period from at least February 28, 2016, through at

least January 31, 2021, and for an equal amount due to certain of Defendants’

current and former employees in liquidated damages. Additional amounts of back

wages and liquidated damages may also be owed to certain current and former

employees of Defendants listed in the attached Schedule A for violations

continuing after January 31, 2021, and may be owed to certain current and former

employees presently unknown to the Secretary for the period covered by this

Complaint, who may be identified during this litigation and added to Schedule A;


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      (3)      For an injunction issued pursuant to Section 17 of the Act restraining

Defendants, their officers, agents, employees, and those persons in active concert

or participation with Defendants, from withholding the amount of unpaid minimum

wages and overtime compensation found due to Defendants’ employees;

      (4)      In the event liquidated damages are not awarded, for an Order

awarding prejudgment interest computed at the underpayment rate established by

the Secretary of the Treasury pursuant to 26 U.S.C. § 6621.

      FURTHER, Plaintiff prays that this Honorable Court award costs in his

favor, and an order granting such other and further relief as may be necessary and

appropriate.

                                                Respectfully submitted,

                                                For the Secretary:

                                                Seema Nanda
                                                Solicitor of Labor

                                                Oscar L. Hampton III
                                                Regional Solicitor

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